 Appeal from an order of the Supreme Court, Livingston County (Dennis S. Cohen, A.J.), entered April 14, 2016. The order, inter alia, granted the motion of defendant for summary judgment dismissing the complaint. It is hereby ordered that the order so appealed from is modified on the law by denying defendant’s motion seeking summary judgment dismissing the complaint and reinstating the complaint, and as modified the order is affirmed without costs and the matter is remitted to Supreme Court, Livingston County, for further proceedings in accordance with the same memorandum as in Stiggins v Town of N. Dansville (155 AD3d 1617 [2017]). Present—Whalen, P.J., Centra, DeJoseph, NeMoyer and Winslow, JJ. 